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1                                                             Judge Franklin D. Burgess
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7                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF WASHINGTON
8                                      AT TACOMA
9
     UNITED STATES OF AMERICA,        )
10                                    )
                           Plaintiff, )               NO. CR04-5516FDB
11                                    )
                      v.              )               FINAL ORDER OF FORFEITURE, 3701
12                                    )               92nd AVENUE NW,
     MICHAEL STEFFEN,                 )               GIG HARBOR, WASHINGTON
13                                    )
                           Defendant. )
14   ________________________________ )
15          This matter is before the Court pursuant to Rule 32.2©), Federal Rules of
16   Criminal Procedure for entry of a Final Order of Forfeiture following the conclusion of
17   ancillary proceedings as to real property located at 3701 92nd Avenue NW, Gig Harbor,
18   Washington, more particularly described below.
19          On September 6, 2005, the Court entered a Second Amended Preliminary Order of
20   Forfeiture in the above-captioned case forfeiting certain properties to the Untied States,
21   including defendant Michael Steffen’s interest in the following property:
22                  Real property, together with its buildings, appurtenances, fixtures,
23   attachments and easements, located at 3701 92nd Avenue NW, Gig Harbor, Washington,
24   more particularly described as follows:
25   PARCEL A:
26       Commencing on the West Line of the East half of the Northwest quarter of the
         Southeast quarter of Section 22, Township 21 North, Range 1 East, Willamette
27       Meridian, at a point 218.6 feet North of the Southwest corner thereof;
         Thence East, 146.4 feet to the point of beginning;
28

     FINAL ORDER OF FORFEITURE, 3701 92nd AVENUE NW,
     GIG HARBOR, WASHINGTON - 1                                               UNITED STATES ATTORNEY
                                                                              700 STEWART STREET, SUITE 5220
     CR04-5516FDB
                                                                              SEATTLE, WASHINGTON 98101-1271
                                                                              (206) 553-7970
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1             Thence North 05° East, 371.4 feet to Intersect the Southerly line of property
              conveyed by instrument recorded July 20, 1977 under Recording No. 2751091;
2             Thence South 87° East, along said Southerly line to the East line of the East half
              of the Northwest quarter of the Southeast quarter of said Section 22;
3
              Thence South along said East line to a line parallel with and 218.6 feet North of
4             the South line of said East half;
              Thence West along said parallel line to the point of beginning, Records of Pierce
5             County, Auditor;
6
     PARCEL B:
7
         An easement for ingress, egress and utilities over the North 18 feet of the West
8
         176.40 feet to the following described property:
         Beginning at the Southwest corner of the East half of the Northwest quarter of the
9        Southeast quarter of Section 22, Township 21 North, Range 1 East, Willamette
         Meridian;
10       Thence North along West line of said East half 218.60 feet;
11       Thence East parallel with the South line of said East half 660 feet, more or less, to
         the East line of said East half;
12       Thence South along said East line 218.60 feet to the South line of said East half;
13       Thence West along said South line to the point of beginning.
         Except County Roads;
14

15   PARCEL C:
         An easement for the purpose of taking water from a well located on the following
16       described real property:
17       Beginning on the West line of the South 12 acres of the East half of the Northwest
         quarter of the Southeast quarter of Section 22, Township 21 North, Range 1 East,
18       Willamette Meridian, at a point 218.6 feet North of the Southwest corner thereof;
         Thence East, 146.4 feet;
19
         Thence North 5° East, 371.4 feet;
20       Thence North 87° West, 171 feet to the West line of said subdivision (South 12
         acres);
21
         Thence South, 375 feet to the point of beginning;
22       Except County Roads;
         Situate in the County of Pierce, State of Washington
23

24   Tax Parcel No. 0121224034 (“Gig Harbor property”).
25
              Pursuant to the Preliminary Order the United States Marshals Service has seized
26
     the Gig Harbor property and has maintained it in its custody pending further order of this
27
     Court.
28

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1           The Gig Harbor property is subject to forfeiture pursuant to Title 21, United States
2    Code, Section 853, because it was used, or intended to be used by defendant Michael
3    Steffen to commit or to facilitate the commission of a violation of Title 21, United States
4    Code, Sections 841(a)(1), 841(b)(1)(B), and 846.
5
            On March 16, March 23, and March 30, 2005 notice of the Preliminary Order of
6    Forfeiture and of the United States’ intent to dispose of the Gig Harbor property in
7
     accordance with law was published in the Daily Journal of Commerce and in the Tacoma
8    News Tribune. The notices advised any person, other than the defendant, having or
9
     claiming a legal interest in the Gig Harbor property to file a petition with the Court within
10   thirty (30) days of the final publication of notice or of receipt of actual notice, whichever
11
     is earlier, setting forth the nature and extent of the petitioner’s right, title or interest in the
12   forfeited properties, any additional facts supporting the claim, and the nature of the relief
13
     sought. The United States also, to the extent possible, provided direct written notice as a
14   substitute for the published notice to any person known to have alleged an interest in the
15
     Gig Harbor property. Among the persons so notified were William and Beverly Steffen,
16   a married couple, of 1504 South Mountain View Avenue, Tacoma, Washington.                        More
17
     than thirty (30) days have passed since such notification, and no petition asserting an
18   interest in the Gig Harbor property has been filed by either William or Beverly Steffen.
19
            On April 19, 2005, Susanne M. White filed a petition claiming an interest in “real
20
     property owned by Michael Steffen,” potentially asserting a claim against the Gig Harbor
21
     property.
22
            No other claims or petitions have been submitted with respect to the Gig Harbor
23
     property, and the time permitted for doing so has expired.
24

25          On June 16, 2005, the Court entered an Order dismissing the petition and claim of

26   Susanne M. White.

27          No other petitioners or claimants have come forth to assert an interest in the
28

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1    forfeited property. Accordingly,
2           IT IS ORDERED, ADJUDGED and DECREED that the Gig Harbor property is
3
     hereby fully and finally forfeited to the United States in its entirety. No right, title or
4    interest to the Gig Harbor property shall exist in any other party.
5
            IT IS FURTHER ORDERED, ADJUDGED and DECREED that all right, title and
6
     interest to the Gig Harbor property, is hereby vested in the United States, and shall be
7
     disposed of by the United States Marshals Service, according to law.
8
            The Clerk of the Court is directed to send a copy of this Final Order of
9

10   Forfeiture to all counsel of record and three (3) “raised sealed” certified copies to the

11   United States Marshals Service in Seattle, Washington.

12          DATED this 31st day of October, 2005
13

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15




                                                 A
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19
                                                 FRANKLIN D BURGESS
20                                               UNITED STATES DISTRICT JUDGE
21   Presented by:
         /s/ Peter O. Mueller
22
     PETER O. MUELLER
23
     Assistant United States Attorney
24   700 Stewart Street, Suite 5220
25   Seattle, Washington 98101-3903
26   206-553-4735; 206-553-6934 (fax)
     Peter.Mueller@usdoj.gov
27

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     FINAL ORDER OF FORFEITURE, 3701 92nd AVENUE NW,
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